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Thomas M. Gouid

 

Clerk of Court
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901 -495-1 200 (Telephonc) 731-421-9200 (Telephonc)
901-495-1250 (Facsimile) 731-421“92]0 (Facsimile)

Tom_Gould@tnwd.uscourts.gov
August l, 2005

Leonard Green, Clerk

U.S. Court of Appeals for the Sixth Circuit
Potter Stewart U.S. Courthouse

100 East Fifth Street, Room 532
Cincinnati1 OH 45202-3988

Re: United States v. Melissa Campbeh' Rabaglia
Circuit Court Case No. 04-58 78
District Court Case N0.03-20107-B

To the Clerk:

Enclosed please find transmittal of Def`endant Melissa Carnpbell Rabaglia’s “MOTION TO
DECLARE DEFENDANT INDIGENT FOR PURPOSES OF APPEAL ONLY" filed in this U.S. District
Court on July 9, 2004. It should be treated for filing and docketing purposes as serving as Defendant
Rabaglia’s timely Notice of Appeal in the above matter.

I have determined that this July 9, 2004 motion is the functional equivalent of a Notice of Appeal
under Fed. R. App. P. 3(c), a determination that I have made pursuant to an Order and instructions from the
Sixth Circuit Court of Appeals, a copy of which Order is attached hereto.

The basis of my determination is that this MOTION suffices as the Defendant’s Notice of Appeal
because the contents of the Notice of` Appeal, as set forth under Rule 3 (c), have been expressly or
constructively satisfied: (A) the specific party taking the appeal has been identified; (B) the judgment or
order being appealed is identified by case number; and (C) while the name of the court to which the appeal
is taken might not have been specifically identified, there is only one court to which this appeal could be
taken. Moreover, in determining the adequacy of` the contents of a Notice of Appeal it is generally held that
so long as the function of notice has been met by the filing of a document indicating the intention to appeal,
the substance of` the rule has been complied with. Finally, in proceedings following the July 9, 2004
MOTION, court staff and judicial personnel treated her case as though it was an ongoing appeal, suggesting
thereby that the purpose of filing her Notice of Appeal has been satisfactorily met.

y submitted,

  

homas M. Gould

Attachments: (l.) July 9, 2004 Motion and (2.) July 25, 2005 Order

Case 2:03-cr-20107-.]DB Document 147 Filed 08/01/05 Page 2 of 9 Page|D 170

 

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v. No. 03-cr-20107-Breen

MELISSA CAMPBELL RABAGLIA

 

MOTION TO DECLARE DEFENDANT INDIGENT FOR
THE PURPOSES OF APPEAL ONLY

 

COMES NOW the Defendant, Melissa Campbell Rabaglia, by and through her counsel
of record, Leslie I. Ballin, and would respectfully request that she be declared indigent for the
purposes of appeal only. In support of` her request, Defendant would state that she due to her
indigency, she is unable to bear the cost of an attorney for the purposes of appeal

WHEREFORE PREMISES CONSIDERED, the Defendant, Melissa Rabaglia, prays

she be declared indigent by this Honorable Court and that this Court appoint counsel to her for

the purposes of appeal in this cause.

Respectfully submitted,

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'BALLIN, BALLIN & FISHMAN, P.C.
Leslie I. Ballin, Esq,

200 Jef`ferson Avenue, Suite 1250
Memphis, Tennessee 38103

(901) 525-6278

Attorney for Defendant

 

Case 2:03-cr-20107-.]DB Document 147 Filed 08/01/05 Page 3 of 9 Page|D 171

CERTIFlCATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing has been served upon Tracy
Berry, Assistant United States Attorney, 16'7 North Main Street, Sth Floor1 l\/Iernphis1 TN 38103;
via facsimile and/or United States mail, first class postage prepaid, this the Sth day of July, 2004.

 

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Stephen B.

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Shankman

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RE: 04-5878

USA vs.

Rabaglia

District Court No. 03-20107

.,-*--J1 __*

Dear Counsel:

Fil€d:

Page|D 172

PATRIC|A J. ELDEH
[513l 564-7034
www.ca$.uscourts.gov

July 25, 2005

Enclosed is a copy of an order which was entered today in the above-
styled case.

Enclosure

cc: Honorable J.

Mr.

Very truly yours,
Leonard Green, Clerk

(MS.)

txicia J. Elder

Senior Case Manager

Daniel Breen

Thomas M. Gould

Case 2:03-cr-20107-.]DB Document 147 Filed 08/01/05 Page 5 of 9 Page|D 173

NO. 04-5373
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Piaimirr-Appenee, LE'ONARD -GREEN¢ Clerk

V.

QB,DER

MELISSA CAMPBELL RABAGLIA,

Defendant-Appellant.

 
 

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Before: BOGGS, Chief Judge; BATCHELDER, CircuitJudge‘, GADOLA, District Judge.'

The defendant was convicted of conspiracy to steal mail and possession of stolen mail on June
2, 2004. On June 29, 2004, she filed a motion for an extension of time to appeal. The district court
granted her motion on June 30, 2004, and extended the time for the defendant to appeal to July l4,
2004. On July 9, 2004, the defendant moved to be declared an indigent for the purposes of taking an
appeal. Her motion Was granted, and the defendant filed a notice of appeal on July 19, 2004. The
government now moves to dismiss the appeal as late. The defendant has not filed any response to the
motion to dismiss

Rule 4(b)(l)(A), Fed. R. App. P., provides that a defendant in a criminal proceeding has ten
days from the later of the entry of judgment or the filing of an appeal by the government in which to
file a notice of appeal. Although the district court extended the time to appeal in this case until July

14, the defendant did not file her notice of appeal until July 19. The time limit for filing a notice of

 

'The Honora'ole Paul V. Gadola, United States District Judge for the Eastern District of
Michigan, sitting by designation.

Case 2:03-cr-20107-.]DB Document 147 Filed 08/01/05 Page 6 of 9 Page|D 174

NO. 04-5878
_ 2 _

appeal is mandatory and jurisdictional, and the failure ofa defendant to tile a timely notice of appeal
deprives this court ofjurisdiction. United States v. Guara’ino, 972 F.2d 682, 685 (6th Cir. 1992)',
Unffed$ta!es v. Wrice, 954 F.Qd 406, 408 (6th Cir.), cert denied, 504 U.S. 945 (1992). The July 19 f
notice of appeal was late, and the govemment’s motion to dismiss must be granted

However, the defendant’ s July 9 motion to be declared indigent was filed within the extension
of time to appeal granted by the district court. If the motion is the functional equivalent of a notice
of appeal, see Smith v. Barry, 502 U.S. 244, 248 (1992); Um`tedStates v. Chrz'stoph, 904 F.Zd 1036,
1040 (6th Cir. 1990), cert denied, 498 U.S. 1041 (1991), this court may have jurisdiction to review
the defendant’s conviction.

The government’s motion to dismiss is GRANTED. The clerk of the district court is directed
to determine if the defendant’s July 9 motion is the functional equivalent of a notice of appeal. lf the
motion complies with the requirements of Fed. R. App. P. 3(c), the clerk should transmit the July 9
motion to this court for docketing as an appeal by the defendant

ENTERED BY ORDER OF THE COURT

l Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 147 in
case 2:03-CR-20107 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

